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     (916) 569-0665 fax
 4   Attorneys for
     GAVRILO SPAICH
 5
 6                           IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,           )                No. CR. S-08-440 JAM
                                         )
 9                     Plaintiff,        )
                                         )                STIPULATION AND ORDER
10                                       )                SETTING A BRIEFING SCHEDULE
           v.                            )                AND THE DATE FOR THE HEARING
11                                       )                ON THE DEFENDANT’S MOTION
     GAVRILO SPAICH, et al.,             )                TO DISMISS THE MONEY
12                                       )                LAUNDERING CHARGES
                       Defendants.       )
13   ____________________________________)
14          IT IS HEREBY STIPULATED AND AGREED between the defendants, Jeannie Spaich and
15   Gavrilo Spaich, by and through their defense counsel, Mark Reichel and Bruce Locke, and the
16   United States of America, by and through its counsel, Assistant United. States Attorney Steven
17   Lapham, that the government shall file its opposition to the defendant Gavrilo Spaich’s motion to
18   dismiss the money laundering charges by January 19, 2010 and that the defense shall file its reply
19   to the government’s opposition by January 26, 2010, and the hearing on the motion shall be on
20   February 2, 2010 at 11:00 a.m.
21          The time between the date of the filing of this motion and the date of the disposition of the
22   motion shall be excluded from the computation of the speedy trial act calculation pursuant to 18
23   U.S.C. §3161 (h) (1) (D). Mr. Reichel and Mr. Lapham have authorized Mr. Locke to sign this
24   document for them.
25
26   DATED: December 10, 2009                         /S/ Bruce Locke
                                                  BRUCE LOCKE
27                                                Attorney for Gavrilo Spaich
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29                                                   1
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 1
 2   DATED: December 10, 2009           ____/S/ Bruce Locke____
                                        for MARK REICHEL
 3                                      Attorney for Jeannie Spaich
 4
 5   DATED: December 10, 2009               /S/ Bruce Locke
                                        for STEVEN LAPHAM
 6                                      Attorney for the United States
 7
 8
 9
10         IT IS SO ORDERED.
11
     DATED: December 10, 2009           /s/ John A. Mendez
12                                      JOHN A. MENDEZ.
                                        United States District Judge
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